Case 1:99-cV-01267-.]DB-tmp Document 88 Filed 05/06/05 Page 1 of 3 Page|D 92

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IN THE UNITED STATES DISTRICT COURT 0 \ D_;‘-
FOR THE WESTERN DISTRICT OF TENNESSEE 5H4r ..5 '
EASTERN DIVISION 9 PH 2: 49
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Plaintiff,
v. No. 99-1267-B

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT ls so 0RDERED this LQL day of May, 2005.

/MM

J. DANIEL BREEN
ED STATES DISTRICT JUDGE

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